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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                           21-cr-80195-Marra/Matthewman
                                  Case No._ _ _ _ _ _ _ _ _ _ _ __
                                          18 U.S.C. § 225l(a) & (e)
                                          18 u.s.c. § 2253

    UNITED STATES OF AMERICA,                                             FILED BY         :Sf           D.C.
    vs.
                                                                                 DEC O2 2021
    DAVID A. WOLFE,
                                                                                 ANGELA E. NOBLE
     a/k/a/ " ravioliandanap,"                                                  CLERK U.S. DISt Ct
                                                                                S.O. OF FLA._ W'.P.B'.


    ________________;
            Defendant.


                                             INDICTMENT

            The Grand Jury charges that:

                                                COUNT 1
                                       18 U.S.C. §§ 2251(a) and (e)
                                    (production of child pornography)

            Between on or about October 27, 2020, through on or about April 18, 2021 , in Palm

    Beach County, in the Southern District of Florida, and elsewhere, the defendant,

                                          DAVID A. WOLFE,
                                        a/k/a/ "ravioliandanap",

    did knowingly and intentionally employ, use, persuade, induce, and entice a minor, that is Minor

    Victim 1, to engage in sexually explicit conduct for the purpose of producing any visual

    depiction of such conduct and transmitting a live visual depiction of such conduct, which

    visual depiction was produced and transmitted using materials that have been mailed, shipped,

    and transported in and affecting interstate and foreign commerce by any means, including by

    computer, and the visual depiction was transported and transmitted using any means and

    facility of interstate and foreign commerce, in violation of Title 18, United States Code,

    Sections 225 l (a) and (e).
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                                              COUNT2
                                    18 U.S.C. §§ 2251(a) and (e)
                                 (production of child pornography)

           Between on or about September 26, 2020, through on or about November 5, 2020, in

   Palm Beach County, in the Southern Distr ict of Florida, and elsewhere, the defendant,

                                        DAVID A. WOLFE,
                                      a/k/a/ "ravioliandanap",

   did knowingly and intentionally employ, use, persuade, induce, and entice a minor, that is Minor

   Victim 2, to engage in sexually explicit conduct for the purpose of producing any visual

   depiction of such conduct and transmitting a live visual depiction of such conduct, which

   visual depiction was produced and transmitted using materials that have been mailed, shipped,

   and transported in and affecting interstate and foreign commerce by any means, including by

   computer, and the visual depiction was transported and transmitted using any means and

   facility of interstate and foreign commerce, in violation of Title 18, United States Code,

   Sections 225 l (a) and (e).

                                              COUNT3
                                    18 U.S.C. §§ 2251(a) and (e)
                                 (production of child pornography)

           Between on or about November 29, 2020, through on or about January 2, 2021, in

   Palm Beach County, in the Southern District of Florida, and elsewhere, the defendant,

                                        DAVID A. WOLFE,
                                      a/k/a/ "ravioliandanap",

   did knowingly and intentionally employ, use, persuade, induce, and entice a minor, that is Minor

   Victim 3, to engage in sexually explicit conduct for the purpose of producing any visual

   depiction of such conduct and transmitting a live visual depiction of such conduct,

   which visual depiction was produced and transmitted using materials that have been mailed,

   shipped, and transported in and affecting interstate and foreign commerce by any means,

                                                   2
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    including by computer, and the visual depiction was transported and transmitted using any

   means and facil ity of interstate and foreign commerce, in violation of Title 18, United States

    Code, Sections 225 1(a) and (e).

                                   FORFEITURE ALLEGATIONS

           1.      The allegations of this Ind ictment are hereby re-alleged and by this reference fully

   incorporated herein for the purpose of alleging forfeiture to the United States of America of certain

   property in wh ich the defendant, DAYID A. WOLFE, has an interest.

           2.      Upon conviction of a violation of Title 18, United States Code, Section 2251, as

   alleged in this Indictment, the defendant shall forfeit to the United States, pursuant to Title 18,

   Uni ted States Code, Section 2253(a):

                  (a)     any visual depiction described in Title 18, United States Code, Sections

   2251, 2251A, or 2252, or any book, magazine, periodical, film, videotape, or other matter which

   contains any such visual depiction, which was produced, transported, mailed, shipped or received

   in violation of Title 18, United States Code, Chapter 110;

                  (b)     any property, real or personal, constituting or traceable to gross profits or

   other proceeds obtained from the offense; and

                 (c)      any property, real or personal, used or intended to be used to commit or to

   promote the commission of the offense or any property traceable to such property.




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            All pursuant to Title 18, United States Code, Section 2253(a), and the procedures set forth

    at Title 21, United States Code, Section 853, as incorporated by Title 18, United States Code,

    Section 2253(b).



                                                                 A TRUE BILL.




        &for
    JUAN ANTONI...,,.
                0-,G,.....,O,..,,.N-=z~AL
                                       ----E---Z_ _ _ _ __
    UNITED STA TES AITORNEY




    ASSISTANT UNITED STATES ATTORNEY




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                                                  U ITED STATES DIST RICT COURT
                                                 SOUTHERN DISTRICT OF FLORIDA

U ITED STATES OF AMERICA                                      CASE    O._21-cr-80195-Marra/Matthewman
                                                                          _ _ _ _ _ _ _ _ __ __ _ __ _
  v.
                                                              CERTIFICATE OF TRIAL ATTORNEY*
DAVID A. WOLFE,
 a/k/a/ " ravioliandanap,"
                                                              Superseding Case Information:
                                  Defendant.

Court Division: {Selcc1One)                                   New defendant(s)             Yes           No
       M iami               Key West                          Number of new defendants
        FfL         ✓           WPB            FfP            Total number of counts

        l.         I have carefully considered the allegations of the indictment, the number of defendants, the number of
                   probable witnesses and the legal complexities of the Indictment/Information attached hereto.
        2.         I am aware that the information supp lied on this statement will be relied upon by the Judges of this
                   Court in setting their calendars and scheduling criminal trials under the mandate of the Speedy Trial
                   Act, Title 28 U.S.C. Section 3161.
        3.         Interpreter:    (Yes or No)           No
                   List language and/or dialect
        4.         This case will take _5_ days for the parties to try.
        5.         Please check appropriate category and type of offense listed below:

                   (Check only one)                                  (Check only one)

                                                     ✓
        I          0 to 5 days                                       Petty
        II         6 to JO days                                      Minor
        III        11 to 20 days                                     Misdem.
        IV         21 to 60 days                                     Felony               ✓


        V          61 days and over

        6.       Has this case previously been filed in this District Court?           (Yes or No)      _N_o_ _
         If yes: Judge                                     Case No.
         (Attach copy of dispositive order)                           ------------- -
         Has a complaint been filed in this matter?        (Yes or No)        _N_o_ _
         If yes: Magistrate Case No.
         Related miscellaneous numbers:                       2 1-8201, 2 1-8064, 2 1-8397, 21-8395, 21-840 1, 2 1-8402
         Defendant(s) in federal custody as of
         Defendant(s) in state custody as of
         Rule 20 from the District of
            Is this a potential death penalty case? (Yes or No)

        7.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                   prior to August 9, 20 13 (Mag. Judge A licia 0. Valle)?         Yes              No ✓

        8.         Does this case orig inate from a matter pending in the Northern Region of the U.S. Attorney's Office
                   prior to August 8, 2014 (Mag. Judge Shaniek Maynard)?            Yes             No ✓

        9.         Does this case originate from a matter pending in the Central Region of the U.S. Attorney's Office
                   prior to October 3, 2019 (Mag. Judge Jared Strauss)?             Yes             No_   ✓_

                                                                                   ~          s~
                                                                      ASSIS ~ £ E " D STATES ATTORNEY
                                                                      GREGORY SCHILLER
*Penalty Sheet(s) attached                                                                                         REV 6/5/2020
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

    Defendant's Name: DAVID A. WOLFE
                         --------------------------
                 21-cr-80195-Marra/Matthewman
    Case No:
               - - - - - - - - - - - -- - - - - - - -
    Counts #: 1-3

    Production of Child Pornography

    Title 18, United States Code, Section 225l(a) and (e)

    *Max. Penalty: 30 Years' Imprisonment (15 year mandatory minimum), $250,000 fine,
    Supervised Release of 5 Years to Life, $5000 Special Assessment, $100 Assessment, Restitution




    *Refers only to possible term of incarceration, fines, special assessments, restitution, does
   not include possible parole terms or forfeitures that may be applicable.
